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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                  Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1    )
                                        )                                  Case No. 19-34054 (SGJ)
              Reorganized Debtor.       )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                   Plaintiff,           )
vs.                                     )                                  Adv. Pro. No. 21-03006 (SGJ)
                                        )
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC., JAMES DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST            )
                                        )
                   Defendants.          )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On September 28, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Highland’s Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for
         Relief [Docket No. 79]

     •   Highland’s Memorandum of Law in Support of Opposition to Motion to Dismiss
         Fifth, Sixth, and Seventh Claims for Relief [Docket No. 80]

     •   Debtor’s Objection to Motion to Compel Arbitration and Stay Litigation [Docket
         No. 81]


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Debtor’s Brief in Support of its Objection to Motion to Compel Arbitration and
       Stay Litigation [Docket No. 82]

   •   Declaration of John A. Morris in Support of Debtor’s Objection to Motion to
       Compel Arbitration and Stay Litigation [Docket No. 83]


Dated: October 5, 2021
                                                /s/ Aljaira Duarte
                                                Aljaira Duarte
                                                KCC
                                                222 N Pacific Coast Highway, Suite 300
                                                El Segundo, CA 90245




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                             EXHIBIT A
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                                                                    Exhibit A
                                                              Adversary Service List
                                                             Served via Electronic Mail


             Description                      CreditorName                    CreditorNoticeName                               Email
                                                                                                             john@bondsellis.com;
                                                                                                             john.wilson@bondsellis.com;
                                                                       John Y. Bonds, III, John T. Wilson,   bryan.assink@bondsellis.com;
                                      Bonds Ellis Eppich Schafer       IV, Bryan C. Assink, Clay M.          clay.taylor@bondsellis.com;
 Counsel for James Dondero            Jones LLP                        Taylor, William R. Howell, Jr.        william.howell@bondsellis.com
 Financial Advisor to Official                                         Earnestiena Cheng, Daniel H           Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors     FTI Consulting                   O'Brien                               Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero            Greenberg Traurig, LLP           Daniel P. Elms                        elmsd@gtlaw.com
                                                                       Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC        Annable                               ZAnnable@HaywardFirm.com
                                                                                                             ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A.          lcollins@hellerdraper.com;
 Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.    Collins, Greta M. Brouphy             gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                                                          andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Andrew Clubok, Sarah Tomkowiak        sarah.tomkowiak@lw.com
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 UBS AG London Branch                 Latham & Watkins LLP             Asif Attarwala, Kathryn K. George     Kathryn.George@lw.com
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 UBS AG London Branch                 Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin   kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                          Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine         Jamie.Wine@lw.com
                                                                                                             mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa Russell,     alyssa.russell@sidley.com;
 Counsel for Official Committee of                                     Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Twomey                                dtwomey@sidley.com
                                                                                                             preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
 Counsel for Official Committee of                                     Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Chandler M. Rognes                    crognes@sidley.com
 Counsel for Highland Capital
 Management Services, Inc. and                                         Deborah Deitsch-Perez, Michael P. deborah.deitschperez@stinson.com;
 Nancy Dondero                        Stinson LLP                      Aigen                             michael.aigen@stinson.com
                                                                                                         brant.martin@wickphillips.com;
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 Management Services, Inc.            LLP                              Lauren K. Drawhorn                lauren.drawhorn@wickphillips.com




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                             EXHIBIT B
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                                                                          Exhibit B
                                                                    Adversary Service List
                                                                  Served via First Class Mail

             Description                    CreditorName                  CreditorNoticeName                    Address1                City     State    Zip
                                                                  John Y. Bonds, III, John T. Wilson,
                                    Bonds Ellis Eppich Schafer IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
 Counsel for James Dondero          Jones LLP                     William R. Howell, Jr.              Suite 1000                    Fort Worth   TX      76102
                                                                                                      2200 Ross Avenue, Suite
 Counsel for Nancy Dondero          Greenberg Traurig, LLP        Daniel P. Elms                      5200                          Dallas       TX      75201
 Counsel for the Dugaboy Investment                               Douglas S. Draper, Leslie A.        650 Poydras Street, Suite
 Trust and Get Good Trust           Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy           2500                          New Orleans LA       70130
 Counsel for UBS Securities LLC and                                                                   555 Eleventh Street, NW,
 UBS AG London Branch               Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak Suite 1000                         Washington   DC      20004
 Counsel for UBS Securities LLC and                                                                   330 North Wabash Avenue,
 UBS AG London Branch               Latham & Watkins LLP          Asif Attarwala, Kathryn K. George Ste. 2800                       Chicago      IL      60611
 Counsel for UBS Securities LLC and
 UBS AG London Branch               Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin 355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
 Counsel for UBS Securities LLC and                                                                   1271 Avenue of the
 UBS AG London Branch               Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine       Americas                      New York     NY      10020
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 Management Services, Inc. and                                    Deborah Deitsch-Perez, Michael P. 3102 Oak Lawn Avenue,
 Nancy Dondero                      Stinson LLP                   Aigen                               Suite 777                     Dallas       TX      75219
 Counsel for Highland Capital       Wick Phillips Gould & Martin, Brant C. Martin, Jason M. Rudd,     3131 McKinney Avenue,
 Management Services, Inc.          LLP                           Lauren K. Drawhorn                  Suite 100                     Dallas       TX      75204




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